         Case 1:17-cv-02459-GLR Document 105 Filed 01/26/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 BROCK STONE, et al.,
                   Plaintiffs,

        vs.
                                                   Case No. 1:17-cv-02459-MJG
 DONALD J. TRUMP, et al.,

                        Defendants.


                 MOTION TO COMPEL INITIAL DISCLOSURES

       Pursuant to Federal Rule of Civil Procedure 37(a)(1), Plaintiffs respectfully move the

Court for an order compelling Defendants to provide complete initial disclosures consistent with

Federal Rule of Civil Procedure 26(a)(1). This motion is based on Plaintiffs’ Memorandum of

Law and accompanying declarations and exhibits, filed concurrently with this motion; on the

record in this action; and on other oral or written argument that may be offered by the parties at

or before any hearing on this motion.

       A proposed order is attached hereto.
         Case 1:17-cv-02459-GLR Document 105 Filed 01/26/18 Page 2 of 3



Dated: January 26, 2018                   Respectfully submitted,

                                           /s/ Peter J. Komorowski

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         Case 1:17-cv-02459-GLR Document 105 Filed 01/26/18 Page 3 of 3



                                CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of January, 2018, copies of the foregoing and any
exhibits were served via CM/ECF on all counsel of record.




                                                                         /s/ Peter J. Komorowski
                                                                         Peter J. Komorowski
